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 Sega Corporation and Sega of America, Inc. v. The Partnerships and Unincorporated
          Associations Identified on Schedule “A” – Case No. 23-cv-16594

                                        Schedule A

No.           Seller Alias                                     URL
         Baoding Baigou New
        Town Yan Xiannv Plush
1        Doll Sales Department     https://xiannv666.en.alibaba.com/minisiteentrance.html
       Changsha Botu Trade Co.,
2                 Ltd.               https://botujoy.en.alibaba.com/minisiteentrance.html
          Changsha Zhouhang
3         Technology Co., Ltd     https://cszhouhang.en.alibaba.com/minisiteentrance.html
            Dongguan Kaan
4        Technology Co., Ltd.        https://cnkaan.en.alibaba.com/minisiteentrance.html
        Dongguan Rui Teng Gift
5               Co., Ltd.         https://ruiteng-gift.en.alibaba.com/minisiteentrance.html
           Dongyang Kaishan
       Network Technology Co., https://dongyangkaishan.en.alibaba.com/minisiteentrance.h
6                 Ltd.                                          tml
       Foshan City Smart Mascot https://smartmascottoys.en.alibaba.com/minisiteentrance.ht
7          Costume Co., Ltd.                                     ml
        Hefei Ruizi Textile Co.,
8                 Ltd.             https://ruizitextile.en.alibaba.com/minisiteentrance.html
             Huizhou Taijoy
9        Technology Co., Ltd.       https://plustoys.en.alibaba.com/minisiteentrance.html
        Nantong Diashi Textile
10       Technology Co., Ltd.         https://ntdys.en.alibaba.com/company_profile.html
        Ningbo City Beijila Pets
11         Products Co., Ltd.         https://beijila.en.alibaba.com/minisiteentrance.html
        Quanzhou Laiao Plastic
12         Products Co., Ltd     https://kawaii202109.en.alibaba.com/minisiteentrance.html
         Quanzhou Yoho Yoho
13          Trading Co., Ltd.     https://youhuyouhu.en.alibaba.com/minisiteentrance.html
            Shantou Shuoyin
14       Technology Co., Ltd.         https://soyto.en.alibaba.com/minisiteentrance.html
       Shenzhen Enmei Trading
15              Co., Ltd.                     https://enmeitrading.en.alibaba.com/
           Shenzhen Hechun
16       Technology Co., Ltd.        https://hecion.en.alibaba.com/minisiteentrance.html
          Shenzhen Leguoguo
17          Trading Co., Ltd.               https://leguoguotrading.en.alibaba.com/
           Shenzhen Lingchi
       Electronic Commerce Co., https://lingchisilicone.en.alibaba.com/minisiteentrance.htm
18                Ltd.                                            l


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          Shenzhen Mingbo
     Electronic Commerce Co.,
19               Ltd.            https://mingbosz.en.alibaba.com/minisiteentrance.html
      Shenzhen Mingliu Trade
20             Co., Ltd.         https://woneone.en.alibaba.com/minisiteentrance.html
     Shenzhen Reians Trading
21             Co., Ltd.                        https://rhfun.en.alibaba.com/
     Shenzhen Xuanyi Trading
22             Co., Ltd.         https://iceysundy.en.alibaba.com/minisiteentrance.html
     Shenzhen Youweiyoupin
23          Tech Co., Ltd.        https://cnywyp.en.alibaba.com/minisiteentrance.html
         Shijiazhuang Qunze
24        Traning Co., Ltd.       https://hbqunze.en.alibaba.com/minisiteentrance.html
       Wenzhou Ainy Crafts
25       And Gifts Co., Ltd.      https://ainyrose.en.alibaba.com/minisiteentrance.html
       Xinxiang Qianrui Toys
26             Co., Ltd.        https://qianruitoys.en.alibaba.com/minisiteentrance.html
         Yangzhou Fan Gift
27        Trading Co., Ltd.        https://fangift.en.alibaba.com/minisiteentrance.html
      Yiwu Haiti E-Commerce
28               Firm             https://haiti603.en.alibaba.com/minisiteentrance.html
           Yiwu Juanke E-
29         Commerce Firm           https://juanke.en.alibaba.com/minisiteentrance.html
     Yiwu Kuayue Trade Co.,
30               Ltd.               https://orbro.en.alibaba.com/minisiteentrance.html
     Yiwu Shi Nian Trade Co., https://cn1557495554nhhr.en.alibaba.com/minisiteentrance
31               Ltd.                                        .html
       Yiwu Xinqin Trading
32        Company Limited       https://xinqin2009.en.alibaba.com/minisiteentrance.html
          Zhejiang Coobird
33     Technology Co., Ltd.      https://coobird77.en.alibaba.com/minisiteentrance.html
       Anime Dragon Ball Z
34          Clothing Store            https://www.aliexpress.com/store/1102814673
35           DISMISSED                                   DISMISSED
36         Irory Cos Store            https://www.aliexpress.com/store/1102784156
37          JY Baby Store             https://www.aliexpress.com/store/1101275406
38           DISMISSED                                   DISMISSED
                               https://www.amazon.com/sp?ie=UTF8&seller=AWKFQ4
39     GAOYULINABCDD                                      K3VW6F3
                              https://www.amazon.com/sp?ie=UTF8&seller=A3RNM5L
40        huangjiaxinhaikou                               RRD3FE9
                              https://www.amazon.com/sp?ie=UTF8&seller=A3RNM5L
41      liqiangkuajingbeimei                              RRD3FE9
42           DISMISSED                                   DISMISSED



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                                 https://www.amazon.com/sp?ie=UTF8&seller=A204FZD2
43         ADDUPICT                                     PO6H03
                                 https://www.amazon.com/sp?ie=UTF8&seller=AG2W1V2
44         ANICEGIV                                     Z4R6M8
                                 https://www.amazon.com/sp?ie=UTF8&seller=A1PCCXX
45          AqwhHiop                                    6YI06PK
46         DISMISSED                                  DISMISSED
                                 https://www.amazon.com/sp?ie=UTF8&seller=A2ALUSH
47          bangxiang                                  WP0OEM4
                                 https://www.amazon.com/sp?ie=UTF8&seller=A1JU34C4
48         CFWFTOY                                      6AFGBB
                                 https://www.amazon.com/sp?ie=UTF8&seller=A224J8V3
49          CSNARTS                                     87CH4D
                                 https://www.amazon.com/sp?ie=UTF8&seller=A10TXCL
50           Dulucky                                   M18B0M1
                                 https://www.amazon.com/sp?ie=UTF8&seller=AQKUEL4
51            dunju                                     NVP46O
52         DISMISSED                                  DISMISSED
                                 https://www.amazon.com/sp?ie=UTF8&seller=A10E8JG2
53          GYCbytzd                                   OO3WIC
                                 https://www.amazon.com/sp?ie=UTF8&seller=A1JYWJW
54           haKaiG                                    OS34U09
                                  https://www.amazon.com/sp?ie=UTF8&seller=A24ZJUK
55          hechunyue                                   T2K9225
                                 https://www.amazon.com/sp?ie=UTF8&seller=A2UK8UR
56           Hetting                                   ZP4L5ZG
                                 https://www.amazon.com/sp?ie=UTF8&seller=A30R5JZR
57     HOANG THI PHUC                                    QUMI8
                                 https://www.amazon.com/sp?ie=UTF8&seller=ARJJR45U
58      hongshishangmao                                  SIF3L
                                 https://www.amazon.com/sp?ie=UTF8&seller=AYT7D4G
59          HSZF-YIO                                   WU5LDG
                                 https://www.amazon.com/sp?ie=UTF8&seller=A23KL3A
60        jiajialiuliu8899                             Q0MV1PL
     jinanlianbingwangluokeji    https://www.amazon.com/sp?ie=UTF8&seller=A1NYABC
61         youxiangongsi                               KLEO9IU
                                  https://www.amazon.com/sp?ie=UTF8&seller=A2WYGF
62           jipedngd                                 KYIN98VY
                                  https://www.amazon.com/sp?ie=UTF8&seller=A2JE2M7
63         JUANLING                                    VCW502U
                                  https://www.amazon.com/sp?ie=UTF8&seller=A1M6M5
64     keerkezibaihuojingying                         WGBSS4OW
65          DISMISSED                                 DISMISSED
     lianxiqutaojiangbaihuodia   https://www.amazon.com/sp?ie=UTF8&seller=AONLWY
66                n                                    RIB0EKQ


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                               https://www.amazon.com/sp?ie=UTF8&seller=A1KSY0H
67           likailong888                            SKF5M2K
                               https://www.amazon.com/sp?ie=UTF8&seller=A28OAEL
68      LONGJINGDAMAI                                CO52ZDC
                               https://www.amazon.com/sp?ie=UTF8&seller=A33XHZS
69    lukangfudebeimeidianpu                         566QM89
                               https://www.amazon.com/sp?ie=UTF8&seller=A26DZA7
70         MaYanNing223                              9C6HA05
71          DISMISSED                               DISMISSED
      nanjingshiyuhuataiqubaia https://www.amazon.com/sp?ie=UTF8&seller=A3FNEAJ
72                nlin                               OUO1W43
                               https://www.amazon.com/sp?ie=UTF8&seller=A3IARUN
73      palizhabahebieergan                          B9QGU6Q
                               https://www.amazon.com/sp?ie=UTF8&seller=A3P1O325
74          pengwenjing                               CQ2LGD
                                https://www.amazon.com/sp?ie=UTF8&seller=A3JZO4O
75        PYDEE PARTY                                 C3870J8
                               https://www.amazon.com/sp?ie=UTF8&seller=A4KWQ1L
76             QIANyan                                AY6A3T
                                https://www.amazon.com/sp?ie=UTF8&seller=A23IKD7
77              ranzifan                             W6URL4O
                               https://www.amazon.com/sp?ie=UTF8&seller=A3JYZ2W
78             ruihuamei                             E2DQX2C
                                https://www.amazon.com/sp?ie=UTF8&seller=A33NMG
79           Sniokehome                             QKVDL6K0
     taianjikexuanmaoyiyouxia https://www.amazon.com/sp?ie=UTF8&seller=A1FWX5G
80              ngongsi                              D3EUV3T
     taiyuanshiyuanxinshangm https://www.amazon.com/sp?ie=UTF8&seller=A2SRC50F
81        aoyouxiangongsi                             WZ359C
                               https://www.amazon.com/sp?ie=UTF8&seller=A369X489
82            Tide-Shop                               9NUXXJ
83          DISMISSED                               DISMISSED
84          DISMISSED                               DISMISSED
                               https://www.amazon.com/sp?ie=UTF8&seller=A2YN45U
85           Uselbon LM                              2PVQCRZ
                               https://www.amazon.com/sp?ie=UTF8&seller=A397YCZ4
86            VOASME              8Q41J&asin=B0C7YJ6SGY&ref_=dp_merchant_link
                               https://www.amazon.com/sp?ie=UTF8&seller=AVXTOI7
87          wangbin123t                               2C0CMS
                                https://www.amazon.com/sp?ie=UTF8&seller=A361KEF
88      wangshuangshuangkl                           NRPTXPV
      wuxuanxianshimanduogu https://www.amazon.com/sp?ie=UTF8&seller=A89479I4S
89       oshuxiaoshoudian                              QP1W
                               https://www.amazon.com/sp?ie=UTF8&seller=A3HKYM
90        XBSdzCHUIZHI                              K1L4MAMS


                                       4
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                                    https://www.amazon.com/sp?ie=UTF8&seller=A3SDGR
91           xieruyi123                                    W8MWZ46A
                                   https://www.amazon.com/sp?ie=UTF8&seller=AL53Y3KI
92         XINLINBOYI                                          AULXC
                                   https://www.amazon.com/sp?ie=UTF8&seller=A3R36AH
93            Xluwind                                         T5NIEQ9
                                   https://www.amazon.com/sp?ie=UTF8&seller=AO8Y1JO
94          XTWJYXGS                                          DCXM19
                                   https://www.amazon.com/sp?ie=UTF8&seller=A1RJAIOP
95           Xunjiesuda                                       DH7DZM
                                   https://www.amazon.com/sp?ie=UTF8&seller=A22H5UW
96            XuQiXi                                          0ULFNB0
                                   https://www.amazon.com/sp?ie=UTF8&seller=A398XVVI
97            XWB                                              GS7ZYZ
      yangquandongjindianzish       https://www.amazon.com/sp?ie=UTF8&seller=A11T15Q
98      angwuyouxiangongsi                                    WB62Y55
99         DISMISSED                                        DISMISSED
                                   https://www.amazon.com/sp?ie=UTF8&seller=AFKHY6L
100         YQPBZCHH                                           DIEUQT
                                   https://www.amazon.com/sp?ie=UTF8&seller=AYQXNN
101        zengxiangjiong                                     ONSTL89
                                    https://www.amazon.com/sp?ie=UTF8&seller=A3AERH
102     zhangwenpengdedian                                  WL3BUSIU
                                   https://www.amazon.com/sp?ie=UTF8&isAmazonFulfille
                                       d=0&marketplaceSeller=1&orderID=113-2824970-
103         生活之家123                          7625833&seller=A3A81DJDUFXV74
                                   https://www.amazon.com/sp?ie=UTF8&seller=A8G0TIJO
104      霍州市云淘贸易店                                               H2JLO
                                   https://www.amazon.com/sp?ie=UTF8&seller=A11R5S8F
105    韶山市朋飞化妆品商行                                             940WWX
106            emalvido                            http://emalvido.ecrater.com
107          DISMISSED                                      DISMISSED
108           scuvystyle                          https://scuvystyle.ecrater.com/
109             terrific                             http://terrific.ecrater.com
110            PartyPing                      https://www.etsy.com/shop/PartyPing
        Yiwu Vanho Garment         https://vanho.manufacturer.globalsources.com/homepage_
114             Factory                                 6008854469007.htm
111         Rockard Home                             https://rockardhome.com/
         Hebei Art Sculpture
112    Import&Export Co., Ltd.         https://893cd25e738f171f.en.made-in-china.com
           Shanghai Puking
      International Trading Co.,
113               Ltd                    https://shanghaipuking.en.made-in-china.com
       Shenzhen core Ai Liang
115     e-commerce Co., LTD                 https://www.walmart.com/seller/18988

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      Guangzhou Pal industry
116     and trade Co., LTD           https://www.walmart.com/seller/101001636
       Guangzhou Bayoman
117     clothing Co., LTD              https://www.walmart.com/seller/16214
118        DISMISSED                               DISMISSED
         Shenzhen Qushi
119    Technology Co., LTD           https://www.walmart.com/seller/101118004
      Guangzhou Pal industry
120     and trade Co., LTD             https://www.walmart.com/seller/101087374
                               https://www.wish.com/merchant/5b2a03a12b0410234dc3e
121       ascsagsdhxzg                                   6cb
122         gfdgasda            https://wish.com/merchant/5ea50838e3501b79367f6e96
123          vrtuubt            https://wish.com/merchant/5f8a6492907c86072ed5dc66
                               https://www.wish.com/merchant/5fa7bb48e0d9895c0c710f
124       xuehuidanjkh                                    34
                               https://www.wish.com/merchant/5b3d8e918914db5cfee58
125        yanigjidusxl                                  d08




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